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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

YETI COOLERS, LLC,                                 §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                  1:17-CV-91
                                                   §
ONTEL PRODUCTS CORPORATION and                     §
WORLD PACK USA, LLC,                               §
                                                   §
               Defendants.                         §

                                              ORDER

       Before the Court is the above-entitled action. On this day, the Court entered a Consent

Judgment representing a final adjudication of all claims, counterclaims, and defenses that were (or

could have been) brought between Plaintiff and Defendants in this case.

       IT IS THEREFORE ORDERED that this case is CLOSED.



       SIGNED on January 24, 2018.



                                             _____________________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
